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 1 MELINDA HAAG (CABN 132612)
   United States Attorney
 2
   DAVID R. CALLAWAY (CABN 121782)
 3 Chief, Criminal Division

 4 BRIANNA L. PENNA (CABN 290444)
   JEFFREY SCHENK (CABN 234355)
 5 Assistant United States Attorney

 6          150 Almaden Boulevard, Suite 900
            San Jose, California 95113
 7          Telephone: (408) 535-5061
            FAX: (408) 535-5066
 8          Brianna.penna@usdoj.gov

 9 Attorneys for United States of America
10
                                   UNITED STATES DISTRICT COURT
11
                                NORTHERN DISTRICT OF CALIFORNIA
12
                                            SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                     )   Case No. CR-15-00226-BLF
                                                   )
15          Plaintiff,                             )   UNITED STATES’ PROPOSED VERDICT FORM
                                                   )
16     v.                                          )   Trial Date:   July 20, 2015
                                                   )   Time:         9:00 a.m.
17   DOUGLAS YORK,                                 )   Courtroom:    Hon. Beth Labson Freeman
                                                   )
18          Defendant.                             )
                                                   )
19

20     The United States hereby respectfully submits the following proposed verdict form.
21

22 DATED: July 9, 2015                                        Respectfully submitted,
23                                                            MELINDA HAAG
                                                              United States Attorney
24

25
                                                                     /s/
26                                                            BRIANNA L. PENNA
                                                              JEFF SCHENK
27                                                            Assistant United States Attorneys
28

     UNITED STATES’ PROPOSED VERDICT FORM
     CR-15-00226-BLF
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 1

 2 COUNT ONE:            18 U.S.C. § 912– False Impersonation of a Federal Officer or Employee

 3         WE, THE JURY, find the defendant DOUGLAS YORK in the above-entitled case
 4 _______________________ of False Impersonation of a Federal Officer or Employee,

 5    Guilty/Not Guilty

 6 as charged in Count One.

 7
     COUNT TWO:          14 U.S.C. § 223(A)(1)(C)– Obscene or Harassing Phone Calls
 8
     WE, THE JURY, find the defendant DOUGLAS YORK in the above-entitled case
 9
     _______________________ of Obscene or Harassing Phone Calls,
10      Guilty/Not Guilty
11
     as charged in Count Two.
12

13 DATED:                                            _________________________________
                                                              FOREPERSON
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     UNITED STATES’ PROPOSED VERDICT FORM
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